     Case 4:18-cv-06753-PJH      Document 448-5      Filed 12/10/24   Page 1 of 2




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17                             UNITED STATES DISTRICT COURT
18                          NORTHERN DISTRICT OF CALIFORNIA
19                                    OAKLAND DIVISION
20 In re RIPPLE LABS, INC. LITIGATION                  Case No. 4:18-cv-06753-PJH

21                                                     CLASS ACTION

22 This Document Relates To:                           [PROPOSED] ORDER SUSTAINING
                                                       PLAINTIFF’S OBJECTIONS TO
23 All Actions                                         RIPPLE LABS, INC.’S BILL OF COSTS

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                                         [PROPOSED] ORDER
     Case 4:18-cv-06753-PJH        Document 448-5      Filed 12/10/24     Page 2 of 2




 1          Having considered Plaintiff’s Objections to Ripple Labs, Inc.’s Bill of Costs, and good

 2 cause appearing therefor, the Court ORDERS as follows

 3          1.     The Court exercises its discretion and DECLINES to tax costs against Plaintiff and

 4 in favor of Ripple Labs, Inc.

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 6          IT IS SO ORDERED.

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       DATED:
 8                                          PHYLLIS J. HAMILTON
                                            UNITED STATES DISTRICT JUDGE
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                                          [PROPOSED] ORDER
